Case 2:18-cv-13375-SRC-CLW Document 17 Filed 03/05/19 Page 1 of 7 PageID: 336



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


 CRICKET WIRELESS LLC, AT&T
 MOBILITY LLC, and AT&T Intellectual                 Civil Action No. 18-CV-13375-SRC-CLW
 Property II, L.P.

            Plaintiffs,                              ORDER GRANTING DEFAULT
 v.                                                  JUDGMENT IN FAVOR OF
                                                     PLAINTIFFS AND AGAINST
 MAZ WIRELESS, LLC, MOHAMED                          DEFENDANTS
 NAUFERDEEN, DEEN NAUFERDEEN,
 AND JOHN DOES 1-20

             Defendants.




       THIS MATTER having been brought before the Court by Notice of Motion of Plaintiffs

Cricket Wireless LLC (“Cricket” or “Cricket Wireless”), AT&T Mobility LLC (“AT&T

PREPAID”) and AT&T Intellectual Property II, L.P. (collectively “AT&T” or “Plaintiffs”), on

notice to Defendants MAZ Wireless, LLC (“MAZ Wireless”), Mohamed Nauferdeen, and Deen

Nauferdeen (collectively “Defendants”), for entry of an Order granting entry of default judgment

in favor of AT&T and against Defendants on all causes of action set forth in the Complaint; the

issuance of a Permanent Injunction; and there being no opposition to the Motion and for good

cause shown;

       IT IS, on this 5th day of March, 2019, ORDERED that:

       1.      The Motion is granted in its entirety.

       2.      AT&T shall have, and the Court hereby directs entry of, a final judgment by

default in the form attached hereto as Exhibit A awarding damages in favor of AT&T and against

Defendants in the amount of $75,000.00.



                                                 1
Case 2:18-cv-13375-SRC-CLW Document 17 Filed 03/05/19 Page 2 of 7 PageID: 337



        3.     AT&T shall have, and the Court hereby directs entry of, the issuance of a

Permanent Injunction enjoining Defendants, MAZ Wireless, LLC, Mohamed Nauferdeen, and

Deen Nauferdeen, and each and all of its respective officers, directors, successors, assigns,

parents, subsidiaries, affiliates, related companies, predecessors-in-interest, principals, agents,

employees, attorneys, accountants, investigators, consultants, and all other persons or entities

acting or purporting to act for them or on their behalf, including but not limited to any

corporation, partnership, proprietorship or entity of any type that is in any way affiliated or

associated with Defendants or Defendants’ representatives, agents, assigns, parent entities,

employees, independent contractors, accountants, attorneys, associates, servants, affiliated

entities, and any and all persons and entities in active concert and participation with Defendant,

from:

        a.     purchasing and/or selling any wireless mobile handset that they know, or should

               know, bears, or at one time bore, any AT&T, Cricket, or GoPhone trademark, any

               other trademark owned or used by AT&T, or any other model of wireless mobile

               phone sold or marketed by AT&T (“AT&T Handsets”). Defendants are enjoined

               from purchasing and/or selling all models of wireless phones currently offered for

               sale by AT&T, or that may be offered for sale in the future, as listed and updated

               from time to time on AT&T’s, Cricket’s, or GoPhone’s websites, respectively.

        b.     rekitting, reflashing and/or unlocking of any AT&T Handset;

        c.     accessing, altering, erasing, tampering with, deleting or otherwise disabling

               AT&T’s proprietary prepaid cellular software contained within any model of

               AT&T Handsets;




                                                  2
Case 2:18-cv-13375-SRC-CLW Document 17 Filed 03/05/19 Page 3 of 7 PageID: 338



       d.     facilitating or in any way assisting other persons or entities who Defendants knew

              or should have known are engaged in rekitting, reflashing and/or unlocking

              AT&T Handsets and/or hacking, altering, erasing, tampering with, deleting or

              otherwise disabling the software installed in AT&T Handsets;

       e.     facilitating or in any way assisting other persons or entities who Defendants knew

              or should have known are engaged in any of the acts prohibited under this

              Permanent Injunction including, without limitation, the buying and/or selling of

              unlocked AT&T Handsets;

       f.     knowingly using the AT&T, Cricket, or GoPhone trademarks or any other

              trademark owned or used by AT&T, or that is likely to cause confusion with the

              AT&T, Cricket, or GoPhone Trademarks, without AT&T’s prior written

              authorization.

       4.     There is no just reason for delay of enforcement of the judgment awarded herein

and accordingly the judgment granted herein shall be a final judgment.



Dated: March 5, 2019



                                                    s/ Stanley R. Chesler__________
                                                   Hon. Stanley R. Chesler
                                                   United States District Judge




                                               3
Case 2:18-cv-13375-SRC-CLW Document 17 Filed 03/05/19 Page 4 of 7 PageID: 339



EXHIBIT A (Form of Default Judgment) [see next page]




                                           4
Case 2:18-cv-13375-SRC-CLW Document 17 Filed 03/05/19 Page 5 of 7 PageID: 340



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


 CRICKET WIRELESS LLC, AT&T
 MOBILITY LLC, and AT&T Intellectual                 Civil Action No. 18-CV-13375-SRC-CLW
 Property II, L.P.

            Plaintiffs,                              FINAL JUDGMENT AGAINST
 v.                                                  DEFENDANTS MAZ WIRELESS,
                                                     MOHAMED NAUFERDEEN, AND DEEN
 MAZ WIRELESS, LLC, MOHAMED                          NAUFERDEEN BY DEFAULT
 NAUFERDEEN, DEEN NAUFERDEEN,
 AND JOHN DOES 1-20

             Defendants.



       It appearing from the record that the Plaintiffs, Cricket Wireless LLC (“Cricket” or

“Cricket Wireless”), AT&T Mobility LLC (“AT&T PREPAID”) and AT&T Intellectual

Property II, L.P. (collectively “AT&T” or “Plaintiffs”) commenced this action by filing a

complaint on August 29, 2018; and it appearing that Defendants MAZ Wireless, LLC (“MAZ

Wireless”), Mohamed Nauferdeen, and Deen Nauferdeen (collectively “Defendants”) were duly

served; and it appearing that the Court entered the default of Defendants for failing to otherwise

defend in this action and directed entry of Judgment in favor of Plaintiffs and against Defendants

in the amount of $75,000.00, and issued a Permanent Injunction in favor of AT&T.

       WHEREFORE, it is ORDERED, ADJUDGED, and DECREED that:

       1.      Plaintiffs Cricket Wireless LLC, AT&T Mobility LLC, and AT&T Intellectual

Property II, L.P. shall have and recover from Defendants MAZ Wireless, LLC, Mohamed

Nauferdeen, and Deen Nauferdeen the sum of $75,000.00, with interest in accordance with 28

U.S.C. § 1961 from the date of this Judgment until paid, and that the foregoing Plaintiffs shall

have execution therefor.

                                                 5
Case 2:18-cv-13375-SRC-CLW Document 17 Filed 03/05/19 Page 6 of 7 PageID: 341



        2.     AT&T shall have, and the Court hereby directs entry of, the issuance of a

Permanent Injunction enjoining Defendants, MAZ Wireless, LLC, Mohamed Nauferdeen, and

Deen Nauferdeen, and each and all of its respective officers, directors, successors, assigns,

parents, subsidiaries, affiliates, related companies, predecessors-in-interest, principals, agents,

employees, attorneys, accountants, investigators, consultants, and all other persons or entities

acting or purporting to act for them or on their behalf, including but not limited to any

corporation, partnership, proprietorship or entity of any type that is in any way affiliated or

associated with Defendants or Defendants’ representatives, agents, assigns, parent entities,

employees, independent contractors, accountants, attorneys, associates, servants, affiliated

entities, and any and all persons and entities in active concert and participation with Defendant,

from:

        a.     purchasing and/or selling any wireless mobile handset that they know, or should

               know, bears, or at one time bore, any AT&T, Cricket, or GoPhone trademark, any

               other trademark owned or used by AT&T, or any other model of wireless mobile

               phone sold or marketed by AT&T (“AT&T Handsets”). Defendants are enjoined

               from purchasing and/or selling all models of wireless phones currently offered for

               sale by AT&T, or that may be offered for sale in the future, as listed and updated

               from time to time on AT&T’s, Cricket’s, or GoPhone’s websites, respectively.

        b.     rekitting, reflashing and/or unlocking of any AT&T Handset;

        c.     accessing, altering, erasing, tampering with, deleting or otherwise disabling

               AT&T’s proprietary prepaid cellular software contained within any model of

               AT&T Handsets;




                                                  6
Case 2:18-cv-13375-SRC-CLW Document 17 Filed 03/05/19 Page 7 of 7 PageID: 342



      d.    facilitating or in any way assisting other persons or entities who Defendants knew

            or should have known are engaged in rekitting, reflashing and/or unlocking

            AT&T Handsets and/or hacking, altering, erasing, tampering with, deleting or

            otherwise disabling the software installed in AT&T Handsets;

      e.    facilitating or in any way assisting other persons or entities who Defendants knew

            or should have known are engaged in any of the acts prohibited under this

            Permanent Injunction including, without limitation, the buying and/or selling of

            unlocked AT&T Handsets;

      f.    knowingly using the AT&T, Cricket, or GoPhone trademarks or any other

            trademark owned or used by AT&T, or that is likely to cause confusion with the

            AT&T, Cricket, or GoPhone Trademarks, without AT&T’s prior written

            authorization.



Judgment rendered ____________________, 2019



                                                 ________________________________
                                                 Clerk of the District Court




                                             7
